     Case 2:20-cv-09781-DSF-E Document 34 Filed 01/27/21 Page 1 of 3 Page ID #:275




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                             UNITED STATES DISTRICT COURT
 8                          CENTRAL DISTRICT OF CALIFORNIA
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10    In Re First American Financial                No. CV 20-9781 DSF (Ex)
11    Corp. Securities Litigation
                                                    ORDER APPOINTING LEAD
12                                                  PLAINTIFF AND APPROVING LEAD
13                                                  COUNSEL
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16         Based on the unopposed Motion of St. Lucie County Fire District Firefighters

17   Pension Trust Fund for Appointment as Lead Plaintiff and Approval of Lead Counsel:
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           1.     The Court appoints the St. Lucie County Fire District Firefighters Pension
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20   Trust Fund (St. Lucie Firefighters) as Lead Plaintiff. St. Lucie Firefighters satisfies the
21   requirements for Lead Plaintiff pursuant to Section 21D(a)(3)(B)(iii) of the Private
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     Securities Litigation Reform Act of 1995 (PSLRA). The matter will proceed as In re
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24   First American Financial Corp. Securities Litigation.
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           2.     Pursuant to Section 21D(a)(3)(B)(v) of the PSLRA, Lead Plaintiff has
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27   selected and retained Pomerantz LLP as Lead Counsel. The Court approves the
28   appointment.
     Case 2:20-cv-09781-DSF-E Document 34 Filed 01/27/21 Page 2 of 3 Page ID #:276




 1         3.     Lead counsel shall maintain records of attorneys’ fees and costs in the
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     manner specified in a separate order.
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 4         4.     All attorneys or other persons responsible for filings in this case must
 5   become familiar with the specific requirements of the Central District of California and
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     this Court, including the Court’s Practices and Procedures on the Central District’s
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 8   website and as stated in the Court’s orders as issued from time to time.
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           5.     No motion, request for discovery, or other pretrial proceedings shall be
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11   initiated or filed by any plaintiffs without the approval of Lead Counsel so as to prevent

12   duplicative pleadings or discovery by plaintiffs. No settlement negotiations shall be
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     conducted without the approval of Lead Counsel.
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15         6.     Lead Counsel shall have the responsibility of receiving and disseminating
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     Court orders and notices.
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18         7.     Defendants shall effect service of papers on plaintiffs by serving a copy of

19   same on Lead Counsel by overnight mail service, electronic or hand delivery. Plaintiffs
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     shall effect service of papers on defendants by serving a copy of same on defendants’
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22   counsel by overnight mail service, electronic or hand delivery.
23         8.     During the pendency of this litigation, or until further order of this Court,
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     the parties shall take reasonable steps to preserve all documents within their possession,
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26   custody, or control, including computer-generated and stored information, and materials
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     such as computerized data and electronic mail, containing information that is relevant or
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     Case 2:20-cv-09781-DSF-E Document 34 Filed 01/27/21 Page 3 of 3 Page ID #:277




 1   that may lead to the discovery of information relevant to the subject matter of the
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     pending litigation.
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 4         IT IS SO ORDERED.
 5   DATED: January 27, 2021
 6                                          Honorable Dale S. Fischer
 7                                          UNITED STATES DISTRICT JUDGE

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